       Case 1:19-cv-00610-RWL                Document 370          Filed 02/13/24   Page 1 of 15




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
JOSH WEBBER, and                                               :
MUDDY WATER PICTURES LLC d/b/a                                 :                     2/13/2024
MUDDY WATER PICTURES, INC.,                                    :
                                                               :        19-CV-610 (RWL)
                                                               :
                                    Plaintiffs,                :     DECISION AND ORDER
                                                               :
                  - against -                                  :
                                                               :
DAMON ANTHONY DASH, and                                        :
POPPINGTON LLC d/b/a                                           :
DAMON DASH STUDIOS,                                            :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        Following trial for copyright infringement and defamation, a jury found in favor of

Plaintiffs Josh Webber and Muddy Water Pictures LLC (collectively, “Plaintiffs”). On June

21, 2022, the Court entered an amended judgment against Defendants Damon Anthony

Dash (“Dash”) and Poppington LLC (collectively, “Defendants”) in a total amount of

$705,400.00, plus post-judgment interest, and on September 22, 2022, the Court entered

a supplemental judgment against Defendants for $117,884.71 in attorney’s fees (both

judgments collectively, the “Judgment”). Since then, Plaintiffs have sought to enforce and

execute on the Judgment without success. 1

        In aid of execution, Plaintiffs seek to capitalize on Dash’s ownership interest in

Roc-A-Fella Records, Inc. (“RAF”), a closely held-corporation for which Dash owns one-

third of the shares, along with Shawn Carter, a/k/a Jay-Z, and Kareem Burke, who also


1 See Dkt. 331, 332 (U.S. Marshal certifying that he has not received any funds, and the

Judgment remains unsatisfied).


                                                        1
     Case 1:19-cv-00610-RWL         Document 370       Filed 02/13/24    Page 2 of 15




each own one-third shares in RAF. 2 None of the RAF shareholders actually have stock

certificates; apparently none were issued. 3 Accordingly, Plaintiffs move for an order

requiring RAF to (1) issue Dash a stock certificate representing his one-third interest in

the company, and (2) deliver the certificate to the U.S. Marshal or Dash, and, if the latter,

for Dash to deliver the certificate to the U.S Marshal, for the purposes of selling Dash’s

one-third interest in RAF at public auction. 4 (Dkt. 361.) Dash does not oppose the motion,

but RAF does and has intervened for that purpose. (See Dkt. 354 (granting motion to

intervene)). The specific issue to be resolved is whether Dash’s one-third ownership

interest in RAF is property that may be executed upon and sold at public auction to satisfy

the Judgment. The Court resolves the issue as set forth below.




2 Declaration of Shawn Carter A/K/A Jay-Z (“Carter Decl.”), attached as Exhibit 3 to

Affidavit of Chris Brown filed September 6, 2023 at Dkt. 340-2 “(9-6-23 Brown Aff.”), Ex.
3 ¶2. A closely held corporation typically has only a few shareholders. As defined by the
Internal Revenue Service, a “closely held corporation” is a non-personal service
corporation that “has more than 50% of the value of its outstanding stock owned (directly
or indirectly) by 5 or fewer individuals at any time during the last half of the tax year.”
Internal Revenue Service, Entities,          https://www.irs.gov/faqs/small-business-self-
employed-other-business/entities# (last visited Feb. 8, 2024).
3 See 9-6-23 Brown Aff., Ex. 1.


4 The instant motion was preceded by multiple false starts in which Plaintiffs filed similar

motions that the Court denied as deficient. See Dkt. 330 (order denying without prejudice
motion for order of sale of Dash’s interest in RAF due to failure to file supporting
memorandum of law); Dkt. 339 (order denying without prejudice motion to compel sale of
Dash’s interest in RAF due to failure to follow the procedural rules for enforcing a
judgment under New York State law); Dkt. 359 (denying Plaintiffs’ motion for
reconsideration).


                                             2
     Case 1:19-cv-00610-RWL         Document 370      Filed 02/13/24     Page 3 of 15




                                       Background

       The Court presumes the parties’ familiarity with the underlying facts and

proceedings that led to the Judgment. 5 The facts most relevant to this motion concern

RAF and its By-Laws.

       RAF was incorporated in 1996. 6 On June 18, 2021, RAF sued Dash, seeking to

restrain Dash from selling (in the form of a non-fungible token) Carter’s first album,

“Reasonable Doubt,” for which RAF owns the copyright. 7 On July 16, 2021, RAF adopted

by-laws (the “RAF By-Laws” or “By-Laws”) at a special meeting of the three RAF

shareholders. 8 Carter, by proxy, and Burke voted in favor of approving the RAF By-Laws;

Dash objected to the meeting taking place at all and abstained. 9

       Among other provisions, the RAF By-Laws prohibit any shareholder from either

voluntarily or involuntarily selling any of their RAF stock without prior written consent of

RAF’s board of directors:

              Except as provided herein, no shareholder, directly or
              indirectly through a transfer of any equity in itself, merger or
              other reorganization or otherwise, may directly or indirectly

5 See Webber v. Dash, No. 19-CV-610, 2022 WL 2751874 (S.D.N.Y. July 14, 2022)
(decision determining amount of attorney’s fees awarded); Webber v. Dash, No. 19-CV-
610, 2022 WL 2129025 (S.D.N.Y. June 14, 2022) (decision denying Defendants’ post-
trial motion addressing punitive damages for defamation); Webber v. Dash, No. 19-CV-
610, 2021 WL 3862704 (S.D.N.Y. Aug. 30, 2021) (decision denying summary judgment
on issue of copyright ownership).
6 Carter Decl. ¶ 2.


7 Affidavit of Chris Brown filed August 18, 2023 at Dkt. 333-2 (“8-18-23 Brown Aff.”) ¶ 4;

Carter Decl. ¶ 3.
8 Declaration of Paul B. Maslo, filed November 20, 2023 at Dkt. 345 (“Maslo Decl.”) Exs.

A (RAF By-Laws) and B (minutes of special meeting of RAF shareholders).
9 Maslo Decl. Ex. B.




                                             3
     Case 1:19-cv-00610-RWL         Document 370       Filed 02/13/24     Page 4 of 15




              sell, transfer, convey, assign, or otherwise dispose (each a
              “Transfer”) of any stock of the company, whether voluntarily
              or involuntarily, without the prior written consent of the board
              of directors. The restrictions on Transfer contained herein
              relate to a unique asset and will be specifically enforceable. 10

The RAF By-Laws further provide that any transfer by any shareholder not in accordance

with the By-Laws – “including by operation of law” – will be void and of no effect. 11

                       Law Governing Execution On Judgments

       Federal courts have the authority to enforce their judgments. See Peacock v.

Thomas, 516 U.S. 349, 356 (1996) (“Without jurisdiction to enforce a judgment entered

by a federal court, the judicial power would be incomplete and entirely inadequate to the

purposes for which it was conferred by the Constitution”) (internal quotation marks

omitted). Pursuant to the Federal Rules of Civil Procedure, a party seeking to execute

on a money judgment must comply with the procedure of the state where the court is

located, although federal statutory law takes precedence to the extent it applies. Fed. R.

Civ. P. 69(a)(1); Mitchell v. Garrison Protective Services, Inc., 579 F. App’x 18, 21 (2d

Cir. 2014) (Rule “69(a)(1) provides for enforcement of judgments according to the practice

and procedure of the state in which the district court is held”). As this Court is located in

New York, the applicable procedure for enforcement of money judgments is found in

Article 52 of New York’s Civil Practice Law and Rules (“N.Y. C.P.L.R.”). Mitchell, 579 F.

App’x at 21. Plaintiffs’ motion invokes in particular N.Y. C.P.L.R. § 5225 and § 5233.




10 RAF By-Laws § 7.02(a).


11 RAF By-Laws ¶ 7.02(f).




                                             4
     Case 1:19-cv-00610-RWL        Document 370       Filed 02/13/24    Page 5 of 15




      Pursuant to those rules, a money judgment may be enforced against a judgment

debtor’s personal property. N.Y. C.P.L.R § 5225(a). Such property may include the

judgment debtor’s “right or share in stock of … a corporation.”         N.Y. C.P.L.R. §§

5201(c)(1), (4). However, property is subject to execution only if it is property “which

could be assigned or transferred.” N.Y. C.P.L.R § 5201(b); Mitchell, 579 F. App’x at 21.

To aid with execution, the court “may order any person to execute and deliver any

document necessary to effect payment or delivery” of property of the judgment debtor.

N.Y. C.P.L.R. § 5225(c). Once the sheriff has obtained the judgment debtor’s interest in

personal property, the sheriff is authorized to sell that interest at public auction. N.Y.

C.P.L.R. § 5233.

      If property in which the judgment debtor has an interest is not in the judgment

debtor’s possession, a judgment creditor may commence a special proceeding for a court

order requiring the person in possession of the property to deliver the property to the

sheriff, or, as here, the U.S. Marshal. 12 N.Y. C.P.L.R. § 5225(b); Dussault v. Republic of

Argentina, 616 F. App'x 26, 27 (2d Cir. 2015) (§ 5225(b) “creates a remedy for judgment

creditors in situations where property of a judgment debtor is in the possession or custody

or a third party”). In order to prevail under § 5225(b), the judgment creditor must satisfy




12 Plaintiffs need not proceed by special proceeding. That is because “a party seeking a

money judgment against a non-party garnishee may proceed by motion” under Rule 69(a)
and “need not commence a special proceeding, as long as the court has personal
jurisdiction over the garnishee.” CSX Transportation, Inc. v. Island Rail Terminal, Inc.,
879 F.3d 462, 469–70 (2d Cir. 2018); see also Vera v. Republic of Cuba, 802 F.3d 242,
244 n.3 (2d Cir. 2015) (“the filing requirements of a ‘special proceeding’ under New York
law need not be strictly adhered to as long as there is no prejudice to the opposing party
in giving notice of the claims and framing the issues”) (internal quotation marks omitted).
RAF is a New York corporation, has submitted to the Court’s jurisdiction by intervention,
and has had the opportunity to fully participate in these proceedings.


                                            5
     Case 1:19-cv-00610-RWL         Document 370       Filed 02/13/24    Page 6 of 15




two criteria: first, that “the judgment debtor ‘has an interest’ in the property the creditor

seeks to reach”; and second, that either “the judgment debtor is ‘entitled to the possession

of such property’ ” or that “‘the judgment creditor's rights to the property are superior’ to

those of the party” currently possessing the property. Beauvais v. Allegiance Securities,

Inc., 942 F.2d 838, 840 (2d Cir. 1991) (quoting C.P.L.R. § 5225(b)).

       “A Rule 69(a) turnover proceeding pursuant to N.Y. C.P.L.R. § 5225(b) is treated

as a motion for summary judgment.” Edelson v. Cheung, No. 20-MC-1995, 2023 WL

2300029, at *3 (E.D.N.Y. March 1, 2023) (citing Gonzalez v. City of New York, 127 A.D.3d

632, 633, 8 N.Y.S.3d 290, 291 (1st Dep’t 2015) (“It is settled that a special proceeding is

subject to the same standards and rules of decision as apply on a motion for summary

judgment”)); see also HBE Leasing Corp. v. Frank, 48 F.3d 623, 633 (2d Cir. 1995)

(district court “may grant summary relief where there are no questions of fact” in a special

proceeding pursuant to FRCP 69(a) and CPLR 5225(b)). Summary judgment should be

granted “if the movant shows that there is no genuine dispute as to any material fact and

the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The moving

party bears the initial burden of demonstrating the absence of a dispute. See Celotex

Corp. v. Catrett, 477 U.S. 317, 323 (1986).         The court “may not make credibility

determinations or weigh the evidence, and ... must resolve all ambiguities and draw all

permissible inferences in favor of the non-moving party.” Jaegly v. Couch, 439 F.3d 149,

151 (2d Cir. 2006).

                                        Discussion

       The question at the core of the instant dispute is whether the RAF By-Laws’

prohibition on transfer and sale of Dash’s one-third ownership interest in shares of RAF




                                             6
     Case 1:19-cv-00610-RWL         Document 370      Filed 02/13/24    Page 7 of 15




without the consent of RAF’s board of directors legally prevents sale of Dash’s interest in

RAF to satisfy the Judgment. The answer indisputably is no.

       To understand why, the Court begins with what is not in dispute. RAF does not

dispute that Dash owns one-third of the shares in RAF (Carter Decl. ¶2), thus satisfying

the first step of the two-step inquiry that the judgment debtor has an interest in the

property the creditor seeks to reach. See Beauvais, 942 F.2d 838 at 840. RAF also does

not dispute that a judgment debtor’s right or interest in a corporation may be property that

can be levied upon to satisfy a judgment as explicitly set forth in the New York rules. N.Y.

C.P.L.R. §§ 5201(c)(1), (4); see RAF Mem. at 3 (acknowledging that stock may be

property subject to enforcement, depending on the applicable contracts involved). 13 Nor

does RAF contend that Dash is not entitled to possession of his one-third interest. The

second step of the turnover analysis is thereby satisfied as Dash, the judgment debtor, is

“entitled to the possession of such property.” See Beauvais, 942 F.2d 838 at 840.

       Although RAF has not issued actual stock certificates, the Court can direct RAF to

issue and deliver documentation reflecting Dash’s ownership of one-third of the shares in

RAF. 14 N.Y. C.P.L.R. § 5225(c); see generally Chemical National Bank of New York v.

Colwell, 132 N.Y. 250, 256 (1892) (“It has been frequently held that [provisions requiring

entry of a transfer of ownership on corporate books] are intended solely for protection of

the corporation … and do not operate to prevent the passing of the entire title, legal and



13 “RAF Mem.” refers to Roc-A-Fella Records, Inc.’s Opposition To Plaintiffs’ Motion To

Deliver Stock Certificates filed at Dkt. 367.
14 The same By-Laws on which RAF relies to oppose the instant motion provide that

“shares of the corporation shall be represented by certificates … and shall be entered in
the records of the corporation as they are issued.” (RAF By-Laws § 7.01.)


                                                7
     Case 1:19-cv-00610-RWL         Document 370      Filed 02/13/24    Page 8 of 15




equitable, in the shares, as between the parties, by the delivery of the certificate, with

assignment and power of transfer”). And regardless, even in the absence of any issued

stock certificate, a judgment debtor’s ownership interest in a corporation can be

transferred to and sold at public auction to satisfy a judgment pursuant to court order.

Indeed, Dash previously has done exactly that with respect to another closely held

corporation. In an action brought by a judgment debtor in New York state court, Dash

was required to, and did, assign his 50 percent interest in a closely held corporation to a

receiver tasked with selling that interest at a public or private sale. Kerison & Willoughby

Capital, Ltd. v. Dash, Index No. 155976/2013. 15 The same can be done here with respect

to Dash’s one-third interest in RAF.

       Nonetheless, RAF contends that Dash’s one-third interest in RAF is not subject to

being turned over to the U.S. Marshal and sold at auction because § 7.02(a) of RAF’s By-

Laws prohibit and render ineffective all transfers not approved by RAF’s board. Sale of

Dash’s one-third shares of RAF has not been voted upon by the board, and, as a result,

RAF argues, Dash’s interest in RAF cannot be transferred or assigned as required by

N.Y. C.P.L.R § 5201(b).

       Under New York law, however, the By-Laws’ no-transfer restriction is not

enforceable. “In New York certificates of stock are regarded as personal property and

are subject to the rule that there be no unreasonable restraint on alienation.” Lam v. Li,

222 A.D.2d 290, 290, 635 N.Y.S.2d 26 (1st Dep’t 1995) (quoting Rafe v. Hindin, 29 A.D.2d

481, 484, 288 N.Y.S.2d 662 (2d Dep’t 1968), aff’d 23 N.Y.2d 759 (1968). In Rafe, the



15 See Affidavit of Chris Brown filed 11/27/2023 at Dkt. 369-1 (“11-27-23 Brown Aff.”) Exs.

1 and 2.


                                             8
     Case 1:19-cv-00610-RWL         Document 370       Filed 02/13/24     Page 9 of 15




Court analyzed the same question presented here: “the validity of a restriction on the

transfer of stock in a close corporation without the consent of either all or a stated

percentage of the other stockholders or the board of directors of the corporation.” 29

A.D.2d at 483. The plaintiff and defendant formed a corporation in which they each owned

a stock certificate representing 50 percent of the outstanding stock. Id. at 482. A legend

on each certificate – signed by the parties – made it non-transferable except to the other

stockholder absent written permission from the other stockholder to transfer the stock to

a third party. 16 Id. The restriction did not include any qualification that consent could not

be unreasonably withheld. Id. at 483. Encountering financial difficulties, the plaintiff found

a prospective buyer for his 50 percent share. Id. at 482. The plaintiff first offered to sell

his stock to the other stockholder, the defendant, at the same price, but the defendant

refused both to buy the stock and to consent to sale of the plaintiff’s stock to the

prospective purchaser. Id. The plaintiff then sued, seeking a judgment declaring void the

no-transfer legend and declaring the stock transferrable to a third party without consent

of the defendant. Id.

       The lower court denied the plaintiff’s motion for summary judgment. The appellate

court, however, reversed and granted the relief requested.          Id. at 486.    The court

explained that shares of stock are property, ownership of which “cannot exist in one

person and the right of alienation in another” and that “if another has the arbitrary power

to forbid a transfer of property by the owner that amounts to annihilation of property.” Id.



16 That the restriction on transfer in Rafe appeared as a legend on the stock certificate

and not in the corporation’s by-laws is immaterial. See Rafe, 29 A.D.2d at 483. As RAF
asserts, “[c]aselaw is clear that whether something (including stock) ‘could be assigned
or transferred’ – and thus qualify as ‘property’ subject to enforcement under CPRL 52 –
depends on the provisions in the applicable contracts involved.” (RAF Mem. at 3.)


                                              9
     Case 1:19-cv-00610-RWL         Document 370       Filed 02/13/24     Page 10 of 15




at 484 (citation omitted). In light of those principles, the court made short work of the no-

transfer restriction. As the court noted, the no-transfer restriction did not include any

qualification that consent may not be unreasonably withheld, thus imbuing the defendant

with “the arbitrary power to forbid a transfer of the shares of the stock by the plaintiff” and

thus “amount[ed] to annihilation of property.” Id. As a result, “[t]he restriction is not only

unreasonable, but it is against public policy and therefore illegal.” Id. at 485 (emphasis

added).

       Based on those same principles, the court in Lam found unenforceable an option

agreement that permitted the plaintiff to purchase from the defendant 50 percent of shares

of a corporation for only $10, binding the defendant and their heirs, successors, and

assigns, with no time limit. 222 A.D.2d at 290. In invalidating the provision, the court

cited Rafe and stated that “what the law condemns is, not a restriction on transfer … but

an effective prohibition against transferability itself.” Id. at 291 (emphasis in original)

(quoting Allen v. Biltmore Tissue Corp., 2 N.Y.2d 534 (1957)).

       To similar effect is the New York Court of Appeals decision in Quinn v. Stuart Lakes

Club, Inc., 57 N.Y.2d 1003, 457 N.Y.S.2d 471 (1982). In that case, a corporation was

established to operate a club. Id. at 1003. The corporate by-laws included a restriction

providing that upon death of a club member, that member’s share of stock must be

returned to the club for cancellation. Id. at 1004. Eventually, there were only two

shareholders in the corporation. Id. One of them, Quinn, died. When that happened, the

sole surviving member, Crawford, filed an action demanding that the executrices of

Quinn’s estate surrender Quinn’s share of stock pursuant to the by-laws’ restriction. Id.

In a brief opinion, the Court of Appeals found “[the restriction] of the corporations by-laws




                                              10
    Case 1:19-cv-00610-RWL         Document 370      Filed 02/13/24    Page 11 of 15




is void as an absolute restraint on power of alienation violative of public policy in

this State.” Id. at 1005 (emphasis added). The court thus ordered that the corporation

“must transfer the stock to [Quinn’s executrix] and record the transfer on the books of the

corporation.” Id.

      The case law could not be more clear: in New York, a corporation’s unqualified

prohibition on transfer or sale of stock by a shareholder without consent from the board

is illegal, against public policy, and void. Sections 7.02(a) and (f) of the RAF By-Laws is

just such a provision. The restriction prohibits any one of the three shareholders from

transferring their stock in the company “without the prior written consent of a [sic] the

board of directors.” (By-Laws § 7.02(a).) That unqualified restriction is like the one in

Rafe in that there is no qualification that consent will not be unreasonably withheld. The

provision endows the other two stockholders with the arbitrary power to prevent transfer

of Dash’s ownership interest and thereby annihilates Dash’s property ownership. There

are only three shareholders, which gives the two shareholders other than Dash

unrestricted veto power over transfer of Dash’s interest. In other words, Carter and Burke

can effectively force Dash to keep his shares and never sell them.

      The enactment of the By-Laws demonstrates the point. RAF was founded in 1996.

(Carter Decl. ¶ 2.) Yet, the By-Laws at issue were not adopted until 25 years later in 2021

at a special shareholder meeting, convened by telephone, not even a month after RAF

sued Dash for his attempt to sell intellectual property rights held by RAF. The sole

purpose of the meeting was to vote on the By-Laws. They were approved with only the

votes of Carter and Burke (comprising a two-thirds majority of RAF stock and voting

rights), the two shareholders other than Dash. (Maslo Decl. Ex. B.) In short, Carter and




                                            11
     Case 1:19-cv-00610-RWL         Document 370       Filed 02/13/24     Page 12 of 15




Burke engineered enactment of the By-Laws and the no-transfer restriction without

Dash. 17

       RAF has not presented any persuasive argument that the no-transfer restriction in

§ 7.02(a) of its By-Laws is enforceable. In an earlier brief, RAF asserted that “New York

courts enforce provisions requiring board approval for the sale of shares in a

corporation.” 18   The cases RAF cited, however, are entirely distinguishable.            The

restriction in Barbour v. Knecht, which involved a building cooperative, expressly provided

that consent could not be unreasonably withheld. 296 A.D.2d 218, 220, 743 N.Y.S.2d

483 (1st Dep’t 2002). Cia Naviera Finaciera Aries, S.A. v. 50 Sutton Place South Owners,

Inc. is inapt because it too involved a building cooperative, for which “New York's Court

of Appeals requires courts to apply the business judgment rule in evaluating challenges

to decisions made by cooperative boards.” 510 F. App’x 60, 63 (2d Cir. 2013). The same

is true of Del Puerto v. Port Royal Owner’s Corp., 14 Misc.3d 1214(A), 836 N.Y.S.2d 484

(Sup. Ct. Kings Cnty. 2007), aff’d 54 A.D.3d 977, 865 N.Y.S.2d 258 (2008).                RAF

apparently realized the inapplicability of those cases to the instant context, having omitted

any reference to them in RAF’s more recent brief. 19 (See generally RAF Mem.)


17 The fact that Carter and Burke enacted the By-Laws and its no-transfer restriction

without Dash’s agreement makes the instant case even more compelling than the no-
transfer restriction in Rafe, where the stockholder seeking to declare the restriction
unenforceable previously had agreed to it. See 29 A.D.2d at 482.
18 Third-Party Roc-A-Fella Records, Inc.’s Opposition To Plaintiffs’ Motion To Sell The

Assets Of Damon Dash, Dkt. 335, at 2.
19 RAF also dropped citation of cases from other states to support enforceability of the

no-transfer restriction. In its brief opposing Plaintiffs’ motion for reconsideration of one of
the Court’s earlier decisions addressing the issue, RAF cited cases from Massachusetts,
Missouri, Minnesota, and Pennsylvania. See Roc-A-Fella Records, Inc.’s Opposition To
Plaintiffs’ Motion To Reconsider Docket Entry 339 (“RAF Recon. Mem.”), Dkt. 344, at 2,
6 (citing Bass River Tennis Corp. v. Barros, 2021 WL 2201236, at *3 (Mass. App. Ct.


                                              12
     Case 1:19-cv-00610-RWL        Document 370       Filed 02/13/24    Page 13 of 15




       By way of footnote, RAF contends that Plaintiffs do not have standing to argue that

RAF’s By-Laws are unenforceable. (RAF Mem. at 4 n.2.) The authority cited by RAF for

that proposition is again inapt. RAF quotes Stolow v. Greg Manning Auctions, Inc. as

stating that “[t]he bylaws of a corporation constitute a contract between a corporation and

its members. … A third-party, who is not a member of the association or corporation nor

a party to the bylaws, lacks standing to bring suit against an organization for violation of

its bylaws.” 258 F. Supp.2d 236, 249 (S.D.N.Y. 2003), aff’d, 80 F. App’x 722 (2d Cir.

2003). But Plaintiffs did not bring a suit against RAF for violation of the By-Laws; rather,

Plaintiffs filed a motion as judgment creditors against Defendants as judgment debtors,

and RAF intervened and asserted its By-Laws as a basis for the Court to deny the relief

sought by Plaintiffs. Plaintiffs responded to that argument by explaining why the By-Laws

are not an impediment to turnover and sale of Dash’s interest in RAF. There is no lack

of standing. 20

       Lastly, RAF has argued that permitting a public sale of Dash’s ownership interest

without approval by RAF’s board would undermine the goals of protecting the corporation



2021); Witte v. Beverly Lakes Investment Co., 715 S.W.2d 286, 292 (Mo. Ct. App. 1986);
Castonguay v. Castonguay, 306 N.W.2d 143, 145-46 (Minn. 1981); Rouse & Associates,
Inc. v. Delp, 658 A.2d 1383, 1385 (Pa. Super. 1995)). All are inapt as none involved New
York law. See Rafe, 29 A.D.2d at 483 (recognizing that “[t]here is a conflict of authority
in other States” on the issue of restrictions on transfers of stock in close corporations).
The cases also are distinguishable as the restrictions at issue applied only to voluntary
transfers, not involuntary transfers, such as is at issue here. Bass River Tennis 2021 WL
2201236, at *3; Witte, 715 S.W.2d at 294; Castonguay, 306 N.W.2d at 146; Rouse, 658
A.2d at 1385.
20 As a response to RAF’s efforts to forestall execution, Plaintiffs also argued that RAF

violated its By-Laws by failing to issue a stock certificate to Dash. Plaintiffs did so,
however, as a response to RAF’s invocation of its By-Laws in the first place. In any event,
to resolve the instant dispute, the Court need not address whether or not RAF violated its
own By-Laws.


                                            13
     Case 1:19-cv-00610-RWL        Document 370       Filed 02/13/24     Page 14 of 15




and forcing the two other shareholders “into a relationship with a third party whose

interests may not be aligned.” (RAF Recon. Mem. at 7.) The two other shareholders,

however, could have pre-empted that concern by adopting a no-transfer restriction

subject to consent that would not be unreasonably withheld; or, they could have required

that they be given a right of first refusal to purchase Dash’s shares. Even now, they can

readily address their concern without enforcing a no-transfer restriction that is contrary to

New York law. They can participate in the auction and place the winning bid.

                                        Conclusion

       To the extent not addressed above, the Court has considered the parties’

arguments and found them to be moot or without merit. For the foregoing reasons, the

Court grants Plaintiffs’ motion and orders as follows:

       1.     Section 7.02(a) of the RAF By-Laws is unenforceable.

       2.     Within 21 days of entry of this order, RAF shall turn over to counsel for Dash

a certificate representing Dash’s ownership of one-third of the shares in RAF (the “Dash

Ownership Interest”).

       3.     Within 10 days of receiving the certificate of the Dash Ownership Interest,

Dash, through counsel, shall turn over to the U.S. Marshal for the Southern District of

New York (i) a fully-executed assignment (the “Assignment”) that assigns to the U.S.

Marshal all right, title, and interest in and to the Dash Ownership Interest, and (ii) any

certificate issued by RAF evidencing the Dash Ownership Interest.

       4.     Within 180 days of the U.S. Marshal’s receipt of the Dash Ownership

Interest and any corresponding certificate, the Marshal shall sell the Dash Ownership

Interest at public auction.




                                             14
    Case 1:19-cv-00610-RWL        Document 370      Filed 02/13/24    Page 15 of 15




      5.     Following completion of the auction sale, the U.S. Marshal shall deliver (i)

to Plaintiffs, proceeds of the sale in an amount not to exceed the amount owed pursuant

to the Judgment plus post-judgment interest; and (ii) to Dash, proceeds from the sale that

exceed the amount owed to Plaintiffs pursuant to the Judgment.



                                         SO ORDERED.



                                         _________________________________
                                         ROBERT W. LEHRBURGER
                                         UNITED STATES MAGISTRATE JUDGE

Dated: February 13, 2024
       New York, New York




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